               Case 5:19-cv-06856-EJD Document 36 Filed 11/20/19 Page 1 of 3




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13   Intel Corporation
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14                                                                              D IS T IC T O
                                   UNITED STATES DISTRICT COURT                       R
15
                               NORTHERN DISTRICT OF CALIFORNIA
16
                                             SAN JOSE
17
     INTEL CORPORATION,                            Case No. 5:19-cv-06856-EJD
18
                          Plaintiff,
19   v.
                                                   NOTICE OF VOLUNTARY DISMISSAL
20
     FORTRESS INVESTMENT GROUP LLC,                WITHOUT PREJUDICE
21   FORTRESS CREDIT CO. LLC,
     VLSI TECHNOLOGY LLC, and
22   DSS TECHNOLOGY MANAGEMENT, INC.,

23                      Defendants.
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      Case No. 5:19-cv-06856-EJD                                INTEL’S NOTICE OF VOLUNTARY
                                                                DISMISSAL WITHOUT PREJUDICE
               Case 5:19-cv-06856-EJD Document 36 Filed 11/20/19 Page 2 of 3




 1          PLEASE TAKE NOTICE that, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of

 2   Civil Procedure, Plaintiff Intel Corporation (“Intel”), through its counsel of record, hereby

 3   voluntarily dismisses, without prejudice, all claims against all Defendants in the above-captioned

 4   case (the “Action”). Because this notice of dismissal is being filed with the Court before service

 5   by Defendants of either an answer or a motion for summary judgment, Intel’s dismissal of the

 6   Action is effective upon the filing of this notice.

 7

 8   DATED: November 20, 2019                       Respectfully submitted,

 9                                                  By: /s/ Mark D. Selwyn________
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                                                    Attorneys for Plaintiff
27                                                  INTEL CORPORATION
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      Case No. 5:19-cv-06856-EJD                           1            INTEL’S NOTICE OF VOLUNTARY
                                                                        DISMISSAL WITHOUT PREJUDICE
               Case 5:19-cv-06856-EJD Document 36 Filed 11/20/19 Page 3 of 3




 1
                                      CERTIFICATE OF SERVICE
 2
         On this 20th day of November 2019, I hereby certify that I caused the foregoing document
 3
     entitled Notice of Voluntary Dismissal Without Prejudice to be filed via the court’s CM/ECF
 4

 5   system, which shall send notice to the counsel of record for the parties.

 6

 7   DATED: November 20, 2019                      Respectfully submitted,
 8
                                                   By: /s/ Mark D. Selwyn________
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14                                                 Attorney for Plaintiff
                                                   INTEL CORPORATION
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      Case No. 5:19-cv-06856-EJD                        2               INTEL’S NOTICE OF VOLUNTARY
                                                                        DISMISSAL WITHOUT PREJUDICE
